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                 Exhibit E
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


     STATE OF MARYLAND, ET AL.,

                   Plaintiffs,
                                                                  Case No.: 1:25-cv-
                       v.

   UNITED STATES DEPARTMENT OF
       AGRICULTURE, ET AL.,

                  Defendants.




                 DECLARATION OF MIREYA HURTADO
    DEPUTY DIRECTOR OF THE ILLINOIS DEPARTMENT OF EMPLOYMENT
                             SECURITY


       I, Mireya Hurtado, declare as follows:



       1.      I am a resident of the State of Illinois. I am over the age of 18 and have personal

knowledge of all the facts stated herein, except to those matters stated upon information and

belief; as to those matters, I believe them to be true. If called as a witness, I could and would

testify competently to the matters set forth below.

       2.      I am currently employed as the Deputy Director, Service Delivery of the Illinois

Department of Employment Security (“IDES”).




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       3.      IDES is the department of the Illinois state government that administers state

unemployment insurance benefits, runs the employment service and Illinois labor exchange

system, and publishes labor market information.

       4.      As IDES Deputy Director, Service Delivery, I have access to comprehensive

reports and financial records that detail the State of Illinois’ labor market, including claims for

unemployment insurance benefits, and the allocation and distribution of federal funding received

by IDES. Additionally, my role includes overseeing the implementation of and compliance with

federally funded programs within the agency, ensuring expenditures align with federal guidelines

and regulations.

       5.      The ongoing mass-layoff of federal workers is irreparably harming the State of

Illinois in several ways.

Unemployment Assistance Process

       6.      IDES manages claims for unemployment insurance benefits by individuals

formerly employed to work in the State of Illinois.

       7.      The Illinois Unemployment Insurance Act (“UI Act”), 820 ILCS 405/100, et seq.,

provides unemployment insurance benefits, over an extended period of time, to persons who

become unemployed through no fault of their own and meet eligibility requirements. Benefits are

funded through contributions made by Illinois employers to the Illinois Unemployment

Insurance Trust Fund (“Trust Fund”). Id.

       8.      As a general matter, the federal government is required to pay for unemployment

insurance benefits provided to former federal employees. Specifically, the State of Illinois is

party to an agreement with the United States Secretary of Labor, under which the Secretary shall




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pay, as an agent of the United States, Unemployment Compensation for Federal Employees

(“UCFE”) pursuant to 5 U.S.C. § 8502(a).

       9.      Pursuant to 5 U.S.C. § 8502(b), UCFE payments to federal employees are to be

made in the same amount, on the same terms, and subject to the same conditions as would apply

to them under the UI Act.

       10.     For unemployment insurance claims in general, an individual who wishes to

collect benefits in Illinois must file a claim in accordance with the requirements of the UI Act

and 56 Ill. Admin Code § 2712 through § 2920, generally. See 820 ILCS 405/700. Claimants

may file claims online using the IDES system to initiate a claim and to provide information

indicating the basis of the claim, the name of the claimant’s previous employer, the reason for

the job separation, work experience, and other relevant information. Notice of the claim is then

transmitted to the claimant’s former employer(s) for a response. The employer is asked to furnish

information about the separation from employment and other information the employer wishes to

provide.

       11.     Illinois law disqualifies some claimants from unemployment insurance benefits

depending on the circumstances of their separation from employment. Disqualifying

circumstances include, inter alia, discharge for misconduct and voluntary leaving, as defined by

the UI Act. See 820 ILCS 405/601 and 602.

       12.     If an eligibility determination involves a resolution of a dispute of material fact,

the claims adjudicator must conduct a predetermination fact-finding interview(s) after notice is

provided to the employee and her employer(s). 820 ILCS 405/702; 56 Ill. Admin Code

§ 2720.135. Thereafter, a written initial determination must be made stating, inter alia, the

weekly benefit amount, maximum benefits payable to the claimant in a benefit year, and the



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reasons for the determination. 820 ILCS 405/702. That determination must be delivered to the

claimant and the employer “promptly.” Id. If the initial determination is favorable to the

claimant, payments must begin “promptly.” 820 ILCS 405/706.

          13.   A claimant or an employer may file an administrative appeal, generally within 30

days. 820 ILCS 405/800.

          14.   The unemployment insurance benefit amount a specific individual receives is

generally based on their prior wages. Illinois businesses are required to report wages to the

Department on a monthly and/or quarterly basis. 820 ILCS 405/1402. However, the federal

government is not required to and does not report wages to the Department. As a result, for each

claim that is filed by a former federal employee, staff must manually process the claim in order

for the appropriate federal agency or agencies that employed the claimant to send the wage

report to IDES.

Unemployment Benefits Recent Experience and Investigatory Process

          15.   IDES’ data indicates that approximately 446 claims for unemployment insurance

benefits have been filed by former federal employees in Illinois between January 19, 2025 and

March 1, 2025 where the last date worked was after January 18, 2025.

          16.   During the entire calendar year of 2024, IDES data indicates that approximately

453 claims were filed by former federal employees for unemployment insurance benefits.

          17.   Each claim filed by a federal employee requires manual processing to obtain the

wage records for that employee, work that is not required in regular unemployment insurance

claims.




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       18.     In addition, when an employer responds to a notice of claim to IDES, the

employer indicates the reason for the separation, including whether the employee was discharged

for cause, such as misconduct.

       19.     If an employer indicates in its response that an individual was separated due to

performance issues, unspecified discharge, or voluntarily leaving, IDES procedures require that

the claims adjudicator investigate the reason for separation.

       20.     Between February 2, 2025, and February 28, 2025, a substantial number of the

responses from federal employers have indicated a performance issue, unspecified discharge, or

voluntarily leaving.

       21.     As soon as we receive such a response, the Department is required to follow our

intensive and mandatory investigative process, in addition to seeking wages from the federal

employing agency as stated above. And while designed to ensure fairness, the procedures impose

a significant strain on IDES’ financial and temporal resources. Each case requiring a fact-finding

proceeding necessitates extensive staff hours for scheduling, conducting interviews, reviewing

evidence, and drafting detailed decisions. The need to send notices and accommodate witness

testimony further escalates the time commitment. Moreover, the potential for subsequent appeals

triggers a cascade of additional hearings and reviews. All of these activities divert resources

from other essential departmental functions.

       22.     The same IDES staff who handle regular unemployment insurance claims also

process and adjudicate UCFE claims.

       23.     The cumulative effect of these increased claims by federal workers and increased

investigations is translating into substantial expenditures on personnel, administrative overhead,

and the technological infrastructure required to manage the burgeoning caseload, ultimately



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depleting the department’s budget and hindering its ability to address other critical labor-related

issues.

          24.   As the trends noted above continue, the diversion of personnel to handle UCFE

claims will impede the timely processing of regular unemployment insurance claims, creating

backlogs and delays. The consequences will be far-reaching, affecting countless individuals who

depend on swift resolutions to sustain their livelihoods. By diverting resources, we compromise

the efficiency and responsiveness of our claims processing system, ultimately exacerbating

economic hardship for Illinoisans and undermining public trust.

          25.   Statements by the President and other federal officials have indicated that the

overwhelming majority of recent federal terminations were not for-cause firings, based on

individualized assessments of performance, but instead constitute a government-wide effort to

shrink the size of the federal workforce; effectively, a reduction in force.

          26.   As a result, IDES anticipates that the overwhelming majority of recently-

terminated federal employees will be eligible for state unemployment benefits because they were

not terminated for cause and lost their jobs through no fault of their own.

          27.   However, the federal government’s pretextual claims that terminations are for-

cause or voluntary leaving will necessitate extensive and unrecoverable expenditures of

resources by IDES.

Expenditures Due to Federal Firings

          28.   IDES has another statutory mission to: reduce reliance on public benefit systems

such as unemployment insurance benefits; promote economic recovery and vitality by

developing an ongoing, comprehensive approach to identify, plan for, and respond to layoffs and

dislocations; and prevent or minimize the impact of mass layoffs on workers, businesses, and



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communities. In direct and sole response to the federal firings and the increase in claims filed by

former federal employees, IDES is expending increased resources to fulfill this responsibility.

       29.     To the best of IDES’ knowledge, there has never been advance notice of which

federal agencies are planning to conduct mass layoffs, or when. See 5 U.S.C. § 3502(d)(3)(A).

Accordingly, we have been forced to rely on public reporting and word-of-mouth to conduct

after-the-fact outreach to potentially affected workers.

       30.     Due to the increase in claims for UCFE benefits, and due to public reporting

about ongoing and forthcoming federal layoffs, IDES staff around the entire State of Illinois

were engaged to: develop a rapid plan of action; set up a specialized force of claims adjudicators

and other staff to address and investigate the increased UCFE claims; create direct IVR call

center queues for UCFE claimants; develop communications to federal employee claimants

based on the unique circumstances of this mass firing; develop and present virtual weekly

workshops for this distinctive group of individuals; and coordinate with other Illinois agencies to

meet the specialized needs of these individuals.

       31.     Instead of performing their normal duties, staff have instead been dedicated to

reacting to the latest layoff news, trying to identify affected federal agencies and ex-employees,

provide information, and otherwise adjust procedures and resources to assist confused and

unemployed workers in Illinois in a complicated and rapidly evolving environment.

       32.     As just one example of these efforts, Department staff created a new webpage,

requiring significant time and expense. See https://ides.illinois.gov/unemployment/deferred-

resignation-of-federal-employees.html. This effort was a further attempt to provide resources and

services, which could normally be targeted at specific personnel impacted in future layoff events

but must instead be provided less efficiently and at greater expense to the entire public, because



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